                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                           SOUTHWESTERN DIVISION


UNITED STATES OF AMERICA,                           )
                                                    )
                          Plaintiff,                )
                                                    )
       vs.                                          )      No. 15-05012-03-CR-SW-RK
                                                    )
SHELBY C. HASLEY,                                   )
                                                    )
                          Defendant.                )


                       ACCEPTANCE OF PLEA OF GUILTY AND
                            ADJUDICATION OF GUILT


       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty of the Defendant to Count One

contained in the Indictment filed on April 2, 2015, is now Accepted and the Defendant is Adjudged

Guilty of such offense. Sentencing will be set by subsequent Order of the Court.




                                                          /s/ Roseann Ketchmark
                                                        ROSEANN KETCHMARK
                                                    UNITED STATES DISTRICT JUDGE




Date: November 24, 2015




       Case 3:15-cr-05012-RK           Document 100      Filed 11/24/15     Page 1 of 1
